                    Case: 25-1582
                   UNITED         Document:
                           STATES COURT OF7APPEALS
                                              Page: 1FORDate
                                                        THEFiled:
                                                             THIRD04/04/2025
                                                                    CIRCUIT

                                                   No. 25-1582

                       Atlas Data Privacy Corporation, et al.   vs. RocketReach LLC, et al.

                                               ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 RocketReach LLC
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)               ✔ Appellant(s)
                                         ____                               ____ Intervenor(s)

         ____ Respondent(s)              ____ Appellee(s)                   ____ Amicus Curiae

(Type or Print) Counsel’s Name Angelo   A. Stio III, Esq.
                               ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

Firm Troutman Pepper Locke LLP

Address Suite 400, 301 Carnegie Center

City, State, Zip Code Princeton, NJ 08540

Phone 609-951-4125                                                    Fax 609-452-1147

Primary E-Mail Address (required) Angelo.Stio@troutmanlcom
Additional E-Mail Address (1) Lisa.Paglione@troutman.com
Additional E-Mail Address (2) litigationdocketrequests@troutman.com
Additional E-Mail Address (3)

If your organization has created a common or general email address for purposes of receiving
ECF notices, that common email address MUST be one of the listed additional email addresses.
Notices generated from the Court’s ECF system will be sent to both the primary e-mail and additional
e-mail addresses. You are limited to 3 additional e-mail addresses.

SIGNATURE OF COUNSEL: /s/ Angelo A. Stio III

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
NOTICES OR COPIES OF DOCUMENTS INCLUDING BRIEFS AND APPENDICES. ONLY
ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
